       Case 4:07-cv-05944-JST Document 4879 Filed 09/24/16 Page 1 of 3




 1 JOSEF D. COOPER (53015)
   TRACY R. KIRKHAM (69912)
 2 JOHN D. BOGDANOV (215830)
   COOPER & KIRKHAM, P.C.
 3 357 Tehama Street, Second Floor
   San Francisco, CA 94103
 4 Telephone: (415) 788-3030
   Facsimile: (415) 882-7040
 5 jdc@coopkirk.com
   trk@coopkirk.com
 6 jdb@coopkirk.com

 7
     Counsel for Class Representative Steven Ganz
 8
     And Indirect Purchaser Plaintiffs
 9

10

11                               UNITED STATES DISTRICT COURT

12                           NORTHERN DISTRICT OF CALIFORNIA

13                                    SAN FRANCISCO DIVISION

14 In re: CATHODE RAY TUBE (CRT)                    Master File No. 3:07-cv-5944 JST
   ANTITRUST LITIGATION.
15                                                  MDL No. 1917
16                                                  COOPER & KIRKHAM P.C.’S
     This Document Relates to:
                                                    ADMINISTRATIVE MOTION TO FILE
17                                                  UNDER SEAL
     All Indirect-Purchaser Actions
18                                                  Judge: Honorable Jon S. Tigar
19                                                  Before: Special Master Martin Quinn, JAMS
20                                                  [Declaration of John D. Bogdanov and
                                                    [Proposed] Order filed concurrently herewith]
21

22

23

24

25

26

27

28 COOPER & KIRKHAM, P.C.’S                                       Master File No. 3:07-cv-5944 JST
     ADMINISTRATIVE MOTION TO FILE UNDER                          MDL 1917
     SEAL
       Case 4:07-cv-05944-JST Document 4879 Filed 09/24/16 Page 2 of 3




 1           Having reviewed and complied with the Honorable Jon S. Tigar’s Standing Order

 2 Governing Administrative Motions to File Materials Under Seal and Civil Local Rule 79-5,

 3 Cooper & Kirkham, P.C. (“C&K”) respectfully requests an Order permitting it to file under seal

 4 Exhibits 1-6 attached to the Second Declaration of Josef D. Cooper in Support of Cooper &

 5 Kirkham, P.C.’s Objection to Lead Counsel’s Revised Proposed Allocation of Aggregate Fee

 6 Award to Indirect Purchaser Plaintiffs’ Counsel.

 7          This motion is supported by the Declaration of John D. Bogdanov in Support of Cooper &

 8 Kirkham, P.C.’s Motion to File Under Seal, filed concurrently herewith.
 9          Specifically, C&K requests that the following portions be sealed: Exhibits 1-6 to the
10 Second Declaration of Josef D. Cooper in Support of Cooper & Kirkham, P.C.’s Objection to

11 Lead Counsel’s Revised Proposed Allocation of Aggregate Fee Award to Indirect Purchaser

12 Plaintiffs’ Counsel.

13          C&K requests that the entirely of the exhibits listed above be sealed because those portions

14 contain discussion, analysis, or references to documents or information designated by Lead

15 Counsel for the Indirect Purchaser Plaintiffs as “Highly Confidential” pursuant to the terms of the

16 Stipulated Protective Order (Dkt. 306), as set forth in the Declaration of John D. Bogdanov in

17 Support of Cooper & Kirkham, P.C.’s Administrative Motion to File Under Seal. Civil Local

18 Rule 79-5 provides that if a party wishes to file a document that has been designated by another

19 party, or if a party wishes to refer in a memorandum to information so designated by another

20 party, the submitting party must file an administrative motion to seal and the designating party

21 must file a declaration within four days of filing the administrative motion to seal establishing that

22 the designated material is sealable. Civil L.R. 79-5(e). It is the designating party’s burden to

23 establish that the designate information is sealable. Civil L.R. 79-5(d); see Kamakana v. City of

24 Honolulu, 447 F.3d 1172, 1178-1180 (9th Cir. 2006).

25          Thus, C&K respectfully submits this administrative motion pursuant to the Protective

26 Order, the Honorable Jon S. Tigar’s Standing Order Governing Administrative Motions to File

27

28 COOPER & KIRKHAM, P.C.’S                          -1-           Master File No. 3:07-cv-5944 JST
     ADMINISTRATIVE MOTION TO FILE UNDER                           MDL 1917
     SEAL
       Case 4:07-cv-05944-JST Document 4879 Filed 09/24/16 Page 3 of 3




 1 Under Seal, and Civil Local Rules 7-11 and 79-5(d), and hereby notified the Designating Parties

 2 of their burden to establish that the designated material is sealable.

 3          A proposed order granting this application is enclosed.

 4 Dated: September 23, 2016                      Respectfully submitted,

 5                                                  /s/ Josef D. Cooper
                                                        Josef D. Cooper
 6
                                                  Josef D. Cooper (53015)
 7                                                Tracy R. Kirkham (69912)
                                                  John D. Bogdanov (215830)
 8                                                COOPER & KIRKHAM, P.C.
                                                  357 Tehama Street, Second Floor
 9                                                San Francisco, CA 94103
                                                  Telephone: (415) 788-3030
10                                                Facsimile: (415) 882-7040
                                                  Email: jdc@coopkirk.com
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     COOPER & KIRKHAM, P.C.’S                        -2-         Master File No. 3:07-cv-5944 JST
     ADMINISTRATIVE MOTION TO FILE UNDER                         MDL 1917
     SEAL
